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FoR THE WESTERN DISTRICT oF TENNESSEE 05 AU(; 15 PH w 55

WESTERN DIVISION
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UNITED STATES OF AMERICA, W/D r.“ .\ .}_}jp, r€.és

Plaintiff,
vs. Case No. 04cr20403-B
RON REED

Defendant.

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied with the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $1,000.00.,
payable to Shuntelle Reed at 2520 Hanwood Dr., Mernphis, TN 38108 in full refund of the cash

appearance bond posted herein.

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UNIEL BREEN
Uni ed States District Judge

Approved.
Thomas M. Gould, Clerk of Court

BY. /M&w/&¢%Mj

Deputy Clerk

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 67 in
case 2:04-CR-20403 Was distributed by faX, mail, or direct printing on
August 17, 2005 to the parties listed.

 

 

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U.S. ATTORNEY'S OFFICE
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Honorable J. Breen
US DISTRICT COURT

